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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                        8:14CR276

      vs.
                                                     DETENTION ORDER PENDING TRIAL
THOMAS PEREZ,

                  Defendant.

 A.   Order For Detention
      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail
      Reform Act, the Court orders the above-named defendant detained pursuant to 18
      U.S.C. § 3142(e) and (I).


 B. Statement Of Reasons For The Detention
The Court orders the defendant’s detention because it finds:
      X       By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as
              required.
      X       By clear and convincing evidence that no condition or combination of
              conditions will reasonably assure the safety of any other person or the
              community.

 C. Finding Of Fact
The Court’s findings are based on the evidence which was presented in court and that which
     was contained in the Pretrial Services Report, and includes the following:
      X      (1)    Nature and circumstances of the offense charged:
              X      (a) The crimes: (Count 1) Conspiracy to Distribute 50 Grams or More
                          of Methamphetamine (Actual), and (Counts V and VII) Carrying a
                          Firearm in Relation to a Drug Trafficking Crime are serious crimes
                          and carry a maximum penalty of Life imprisonment per count, and
                          (Counts IV and VI) Possession with Intent to Distribute 5 Grams or
                          More of Methamphetamine (Actual) are serious crimes and carry a
                          maximum penalty of 40 years imprisonment per count.
                     (b) The offense is a crime of violence.
              X      (c) The offense involves a narcotic drug.
                     (d) The offense involves a large amount of controlled substances, to
                          wit:

            (2)      The weight of the evidence against the defendant is high.
       X    (3)      The history and characteristics of the defendant including:
                      (a) General Factors:
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                             The defendant appears to have a mental condition which
                             may affect whether the defendant will appear.
                             The defendant has no family ties in the area.
                             The defendant has no steady employment.
                             The defendant has no substantial financial resources.
                             The defendant is not a long time resident of the
                             community.
                             The defendant does not have any significant community
                             ties.
                             Past conduct of the defendant:
                             The defendant has a history relating to drug abuse.
                             The defendant has a history relating to alcohol abuse.
                       X     The defendant has a significant prior criminal record.
                       X     The defendant has a prior record of failure to appear at
                             court proceedings.
                (b) At the time of the current arrest, the defendant was on:
                             Probation
                             Parole
                             Supervised Release
                             Release pending trial, sentence, appeal or completion of
                             sentence.
                (c) Other Factors:
                             The defendant is an illegal alien and is subject to
                             deportation.
                             The defendant is a legal alien and will be subject to
                             deportation if convicted.
                             The Bureau of Immigration and Customs Enforcement
                             (BICE) has placed a detainer with the U.S. Marshal.
                             Other:
        (4)    The nature and seriousness of the danger posed by the defendant’s
        release are as follows:



   X    (5)      Rebuttable Presumptions
       In determining that the defendant should be detained, the Court also relied on the
             following rebuttable presumption(s) contained in 18 U.S.C. § 3142(e) which
             the Court finds the defendant has not rebutted:
             X       (a) That no condition or combination of conditions will reasonably
                          assure the appearance of the defendant as required and the
                          safety of any other person and the community because the
                          Court finds that the crime involves:
                             (1) A crime of violence; or
                             (2) An offense for which the maximum penalty is life
                                   imprisonment or death; or
                      X      (3) A controlled substance violation which has a maximum
                                   penalty of 10 years or more; or
                             (4) A felony after the defendant had been convicted of two
                                   or more prior offenses described in (1) through (3)
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                                    above, and the defendant has a prior conviction for one
                                    of the crimes mentioned in (1) through (3) above which
                                    is less than five years old and which was committed
                                    while the defendant was on pretrial release.
                X       (b) That no condition or combination of conditions will reasonably
                            assure the appearance of the defendant as required and the
                            safety of the community because the Court finds that there is
                            probable cause to believe:
                          X    (1) That the defendant has committed a controlled
                                    substance violation which has a maximum penalty of
                                    10 years or more.
                               (2) That the defendant has committed an offense under 18
                                    U.S.C. § 924(c) (uses or carries a firearm during and in
                                    relation to any crime of violence, including a crime of
                                    violence, which provides for an enhanced punishment if
                                    committed by the use of a deadly or dangerous weapon
                                    or device).

 D. Additional Directives
Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
            1. The defendant be committed to the custody of the Attorney General for
                confinement in a corrections facility separate, to the extent practicable from
                persons awaiting or serving sentences or being held in custody pending
                appeal; and
            2. The defendant be afforded reasonable opportunity for private consultation
                with counsel; and
            3. That, on order of a court of the United States, or on request of an attorney
                for the government, the person in charge of the corrections facility in which
                the defendant is confined deliver the defendant to a United States Marshal
                for the purpose of an appearance in connection with a court proceeding.


 DATED this 22nd day of August, 2014.

                                       BY THE COURT:

                                       s/ F.A. Gossett, III
                                       United States Magistrate Judge
